 Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 1 of 81

                  ÿÿ !"#$ÿ%&




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012




                                                                          Exhibit
                                                                                    exhibitsticker.com




                                                                           A-2
 Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 2 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
 Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 3 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
 Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 4 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
 Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 5 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
 Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 6 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
 Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 7 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
 Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 8 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
 Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 9 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 10 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 11 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 12 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 13 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 14 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 15 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 16 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 17 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 18 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 19 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 20 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 21 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 22 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 23 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 24 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 25 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 26 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 27 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 28 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 29 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 30 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 31 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 32 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 33 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 34 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 35 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 36 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 37 of 81




                                               
                                             97
                                        45ÿ
                                    ÿ4
                                 
                             ÿ
                         471
                     3ÿ6
                  5ÿ2
               ÿ334
         7ÿ92
   334546
012
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 38 of 81

                 2024-33882 / Court: 269




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 39 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 40 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 41 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 42 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 43 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 44 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 45 of 81

                 2024-33882 / Court: 269




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 46 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 47 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 48 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 49 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 50 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 51 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 52 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 53 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 54 of 81

                 2024-33882 / Court: 269




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 55 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 56 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 57 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 58 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 59 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 60 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 61 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 62 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 63 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 64 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 65 of 81

                 2024-33882 / Court: 269




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 66 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 67 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 68 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 69 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 70 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 71 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 72 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 73 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 74 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 75 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 76 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 77 of 81

                 2024-33882 / Court: 269




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 78 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 79 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 80 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:24-cv-02190 Document 1-4 Filed on 06/07/24 in TXSD Page 81 of 81




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
